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                                                                New York, NY 10022
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                                                                May 25, 2018
                                                                          6/7/2018

           By ECF                                       Defendant Ng shall self-surrender to his designated facility on July 10, 2018 at
                                                        2:00 p.m. pursuant to the conditions set forth in Defendant Ng's May 25, 2018
           Honorable Vernon S. Broderick                letter motion, (Doc. 771), including the conditions requested by the Government,
           United States District Judge                 provided that the designated facility is within one day's driving distance from New
           United States Courthouse                     York City. Otherwise, Defendant Ng will surrender directly to the U.S. Marshall's
           40 Foley Square                              Service at the Daniel Patrick Moynihan Courthouse.
           New York, NY 10007


                               Re: United States v. Ng Lap Seng, S5 15 Cr. 706 (VSB)

          Dear Judge Broderick:

                  We write pursuant to Your Honor’s order of May 21, 2018 concerning Mr. Ng’s request
          that the Court order self-surrender directly to the designated facility for service of his sentence.
          We have conferred with Guidepost and the government in this regard. Guidepost has provided a
          plan deliver Mr. Ng securely to FCI Allenwood in Allenwood, PA or another facility within similar
          driving distance of his residence in New York City. The details of the plan are as follows:

                    Guidepost officers will depart Mr. Ng's residence with Mr. Ng at 6:00 a.m. Mr. Ng will
                    be scanned and searched for weapons before departure. He will be wearing his electronic
                    monitoring bracelet unless the Court or Pretrial directs that the bracelet be removed
                    before departure.

                    Guidepost’s security detail will comprise five former law enforcement officers with arms
                    and handcuffs.

                    Guidepost will utilize two vehicles. The first (Lead) vehicle will contain three armed
                    security professionals: the driver together with two other officers in the rear seat with Mr.
                    Ng, one on each side of him. This vehicle will be searched for weapons before departure.
                    The second (Trail) vehicle will contain two armed security professionals. It will follow
                    the Lead vehicle to provide additional security and a back-up vehicle. It will also conduct
                    counter-surveillance throughout the trip.

                    Guidepost will plan a primary route and alternate routes. Those routes will not be
                    disclosed to anyone outside the security detail. There will be no planned stops during the
                    trip.


Beijing    Boston    Chicago    Hong Kong   Houston   London     Los Angeles   Munich   Palo Alto   San Francisco   Shanghai   Washington, D.C.
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       Guidepost plans to use local law enforcement facilities along or near the primary route as
       emergency shelter or confinement if necessary.

       Mr. Ng will remain in the Lead vehicle throughout the trip unless there is an emergency
       that requires his leaving the Lead vehicle. If Mr. Ng must leave the vehicle in an
       emergency, he will always be escorted by at least three armed security professionals.

       Guidepost will have additional security professionals and vehicles on standby in New
       York for emergency response along the route in the morning of July 10, 2018. It will also
       utilize 911 and hospitals as appropriate.

       Guidepost plans to arrive at the facility by 10:00 a.m. on July 10, 2018. It will enter onto
       the facility premises pursuant to federal law, and deliver Mr. Ng to Federal of Bureau of
       Prisons (“BOP”) officials pursuant to BOP rules and regulations. The security detail will
       depart after Mr. Ng is in BOP custody.

        The government has indicated to us that it does not object to Mr. Ng’s self-surrender
directly to the designated facility pursuant to the above-stated plan, provided the facility is within
one day’s driving distance, and provided that the Court both (1) so-orders the plan described by
Guidepost above, and (2) also so-orders the following additional conditions. (The government has
informed us that it objects to Mr. Ng’s surrender directly to a facility that is more than one-day’s
driving distance from Manhattan or that requires a plane flight). The government’s additional
requested conditions for self-surrender are as follows:

       The defendant’s GPS bracelet will be charged prior to the trip commencing, and will
       remain on during the entirety of the trip. The GPS bracelet will be removed only by BOP
       personnel once the defendant is in BOP custody.

       Guidepost is authorized to use all reasonable force as may be necessary to retain custody
       of the defendant and to transfer him safety and securely to the BOP.

       The makeup of the Guidepost security team will not be shared in advance with the
       defendant or any third-party.

       A certified interpreter, whose identity will not be made known to the defendant in
       advance, will be present during the trip. This interpreter may be in the Trail vehicle.

       Guidepost will provide to the Government the cellphone numbers of two officers present
       during the trip, so that the Government may communicate with Guidepost as warranted.
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       Guidepost will promptly report to the Government any deviation from its plan or the
       other conditions set forth herein or any material delay in transporting the defendant to the
       BOP.

       Guidepost will promptly report to the Government once the defendant is in BOP custody.

       The defendant is not permitted to use a cellphone or other communication device the
       morning of or during the trip, nor is the defendant permitted otherwise to communicate
       with a third-party during the trip.

        Given the foregoing, we respectfully request that the Court order that Mr. Ng self-surrender
to his designated facility pursuant to the foregoing conditions, on July 10, 2018 by 2:00 pm,
provided the designated facility is within one-day’s driving distance from New York City;
otherwise he will surrender directly to the U.S. Marshall’s Service.

                                                     Respectfully Submitted,

                                                     KIRKLAND & ELLIS LLP

                                              By:    /s Andrew M. Genser
                                                     Andrew M. Genser
                                                     Kirkland & Ellis LLP
                                                     601 Lexington Avenue
                                                     New York, NY 10022


 cc:       Counsel of Record

                                                     SO ORDERED


                                                     ____________________________________
                                                     Hon. Vernon S. Broderick
                                                     United States District Court
                                                     Southern District of New York
